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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

FCSTONE MERCHANT SERVICES,                       §
LLC,                                             §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §      Civil Action No. 4:20–cv–03693
                                                 §
SGR ENERGY, INC., ST SHIPPING &                  §
TRANSPORT PTE LTD, and THOMAS                    §
SAN MIGUEL, individually,                        §
                                                 §
       Defendants.                               §

       PLAINTIFF’S UNOPPOSED MOTION TO LIFT THE AUTOMATIC STAY

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Plaintiff FCStone Merchant Services, LLC (“Plaintiff”) files this Unopposed Motion to

Lift the Automatic Stay entered by this Court on December 1, 2021 [Dkt. No. 61] (the “Stay”). In

support thereof, Plaintiff respectfully shows as follows:

       1.      This lawsuit has been pending since October 27, 2020, and arises out of two

voyages arranged and facilitated by the Defendants in this litigation: ST Shipping & Transport

PTE LTD (“STS”), Thomas San Miguel (“TSM”) and SGR Energy, Inc. (“SGR”). Dkt. No. 1.

       2.      After preliminary motion practice, the Parties began to engage in written discovery.

       3.      On or around November 15, 2021, SGR commenced a bankruptcy action. See In re

SGR Energy, Inc., Case No. 21-60090 (CML) in the Southern District of Texas, Victoria Division

(the “Bankruptcy Action”).

       4.      On November 17, 2021, SGR filed a Notice of Suggestion of Bankruptcy in this

litigation. Dkt. No. 60. As a result, this Court entered an Order Staying Case pursuant to 11 U.S.C.


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§ 362(a), halting this lawsuit entirely during the pendency of the Bankruptcy Action (the “Stay”).

Dkt. No. 61.

       5.      The Bankruptcy Action was dismissed on January 21, 2022. See Bankruptcy Action

Order Dismissing Case, attached hereto as Exhibit A.

       6.      Plaintiff filed a Notice of Dismissal of the Bankruptcy Action with this Court on

February 8, 2022. Dkt. No. 64.

       7.      As a result of the dismissal of the Bankruptcy Action, the Stay should be lifted to

allow the Parties to proceed with this litigation. See Williams v. Countrywide Home Loans, Inc.,

504 F. Supp. 2d 176, 194 (S.D. Tex. 2007) (“A bankruptcy court’s dismissal of a bankruptcy

proceeding terminates the automatic stay.”). Sosebee v. Steadfast Ins. Co., 701 F.3d 1012, 1025

(5th Cir. 2012) (“…the stay continues until the…bankruptcy case is closed or dismissed.”).

       8.      Accordingly, Plaintiff respectfully requests that this Court enter an order lifting the

Stay and permit the Parties to proceed with this lawsuit.

       9.      Defendants are unopposed to the relief sought in this Motion.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the Court

enter an order lifting the Stay, permitting the Parties to proceed with this litigation.

Dated: February 22, 2022.                              Respectfully submitted,

                                                       MCGUIREWOODS LLP

                                                       /s/ Yasser A. Madriz
                                                       Yasser A. Madriz
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                                                     ATTORNEY-IN-CHARGE FOR
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                                                     SERVICES, LLC

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                             CERTIFICATE OF CONFERENCE

        The undersigned certifies that she has communicated with counsel for SGR, TSM and STS,
all of which have advised that they are unopposed to the relief sought in this Motion. Specifically,
the undersigned communicated with counsel for SGR and TSM via phone call on February 17,
2022, and counsel for STS via e-mail on February 22, 2022.

                                                             /s/ Addison Fontein
                                                             Addison Fontein


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 22nd day of February 2022 a true and correct
copy of the foregoing Motion was served via the Court’s electronic case filing system (CM/ECF)
to all parties registered to receive such notice in the above-captioned case.

                                                             /s/ Addison Fontein
                                                             Addison Fontein




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